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                                                                        FILED
                                                                        APR 15 2019
                 IN THE UNITED STATES DISTRICT COURT                    Clerk, U. S Courts
                                                                        District Of Montana
                     FOR THE DISTRICT OF MONTANA                        Missoula Division
                          MISSOULA DIVISION


UNITED STATES OF AMERICA,                      CR 19-13-M- DWM-3

             Plaintiff,

       vs.                                              ORDER

PRZEMEK ROGALSKI,

             Defendant.


      Defendant Przemek Rogalski having moved unopposed to withdraw his

pending motion to suppress,

      IT IS ORDERED that the motion (Doc. 58) is GRANTED. The defendant's

motion to suppress and brief (Docs. 54, 55) are DEEMED WITHDRAWN.

      DATED this ~        ay of April, 2019.
                                                    /
                                                 lloy, District Judge
                                                  istrict Court
